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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VlRGINIA
Alcxan dria Di\'i$ion

UNI'I`ED STATES OF AMERICA )
)
v. )
) Case No. 1:18-01\-83
PAUL J. MANAFORT, JR., )
Defendant. )
)
)
ORDER

 

ln his recently filed motion to continue his July 25"‘ trial, defendant correctly recites that
he is currently housed at the Northem Neck Regional Jail in Warsaw, Vi.rginia - a site which is
located more than 100 miles from Alcxandria and the District of Columbia. Det`endant also .
avers that the terms of his pretrial detention at Nonhem Necl< have made it difficult to prepare
for trial in this document heavy bank and tax fraud case.

'l.`o ensure that defendant has access to his counsel and can adequately prepare his
defense,

lt is hereby ORDERED that the United States Marshal for the Eastem Distxict of
Virginia shall promptly transport the defendant from Notthem Ncek chional lail to the
Alexandria Detention Center where he shall remain pending trial-

lt is timber 0RDERED that the United States Matshal shall notify chambers as soon as
the defendant arrives at the Alexandria .Detention Center.

The Clerk is directed to provide a copy of this Orcler to all courts l of record.

Alexandria, Virginia
July lO, 2018

    
 

T. S. Ellis, 111
United States Dis et Judge

